Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.l Page 1 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.2 Page 2 of 102
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Case 2:19-cv-00042-TOR ECF No. 1 filed 02/01/19 PagelD.4 Page 4 of 102

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Case 2:19-cv-00042-TOR ECF No. 1 filed 02/01/19 PagelD.B Page 5 of 102

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Case 2:19-0\/- 00042- TOR ECF No. 1 filed 02/01/19 PagelD. 6 Page 6 of 102
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Case 2:19- -0004 -TOR ECF No. 1 filed 02/01/1 age|D. 10 Page 10 of 102
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Case 2:19-cv-00042-TOR ECF No. 1 filed 02/01/19 Page|D.11 Page 11 of 102

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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.12 Page 12 of 102

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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.lS Page 13 of 102

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Ca 386 2.19--CV OOO42- TOR ECF NO. 1 filed 02/01/19 Page|D. 14 Page 14 Of 102
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Ca 386 2.19--CV OOO42- TOR ECF NO. 1 filed 02/01/19 Page|D. 15 Page 15 Of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.16 Page 16 of 102
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Case 2:19-0\/- OOO42- TOR ECF No. 1 filed 02/01/19 Page|D. 17 Page 17 of 102
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Ca 386 2.19--CV OOO42- TOR ECF NO. l filed O2/Ol/19 Page|D.lS Page 18 Of 102
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Ca 386 2.19--CV OOO42- TOR ECF NO. l filed 02/01/19 Page|D. 20 Page 2O Of 102
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Ca 386 2.19--CV OOO42- TOR ECF NO. l filed 02/01/19 Page|D. 22 Page 22 Of 102
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Case 2:19-0\/- OOO42- TOR ECF No. 1 filed 02/01/19 Page|D. 23 Page 23 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.Z? Page 27 of 102
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Case 2:19-c-v OOO42- TOR ECF No. 1 filed 02/01/19 Page|D. 29 Page 29 of 102
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Case 2:19-0\/- OOO42- TOR ECF No. 1 filed 02/01/19 Page|D.SO Page 30 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.Sl Page 31 of 102
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Case 2:19-c\/- OOO42- TOR ECF No. 1 filed 02/01/19 Page|D. 34 Page 34 of 102
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Case 2:19-cv-00042-TOR ECF No. 1 filed 02/01/19 Page|D.35 Page 35 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.S€ Page 36 of 102
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Case 2:19-0\/- OOO42- TOR ECF No. 1 filed 02/01/19 Page|D. 37 Page 37 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.SS Page 38 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.SQ Page 39 of 102
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Case 2:19-cv-00042-TOR ECF No. 1 filed 02/01/19 PagelD.40 Page 40 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.41 Page 41 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.42 Page 42 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.43 Page 43 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 PagelD.44 Page 44 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.45 Page 45 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.46 Page 46 of 102
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Case 2:19-cv-00042-TOR ECF No. 1 filed 02/01/19 Page|D.BO Page 50 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.52 Page 52 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.54 Page 54 of 102
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Ca 386 2.19--CV OOO42- TOR ECF NO. l filed 02/01/19 Page|D. 55 Page 55 Of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.56 Page 56 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.B? Page 57 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.BS Page 58 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.BQ Page 59 of 102
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Case 2:19-cv-00042-TOR ECF No. 1 filed 02/01/19 Page|D.GO Page 60 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.61 Page 61 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.62 Page 62 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.€S Page 63 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.64 Page 64 of 102

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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.65 Page 65 of 102
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Case 2:19-0\/- OOO42- TOR ECF No. 1 filed 02/01/19 Page|D. 66 Page 66 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.67 Page 67 of 102
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Case 2:19-c-v 00042- TOR ECF No. 1 filed 02/01/19 PagelD. 68 Page 68 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.?O Page 70 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19` Page|D.?l Page 71 of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.?S Page 73 of 102
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€425. QOLJC€ mary \<\~\e:¢.;) T\+v¢<\' Tv¢€ E\/\b=w\>Q-; mgm-
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€“-i§> . POL\C;€ D€P CH'¢M<C»€(> ?u~ o~JT\ FF m~q ML,\S

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H\s €\4‘5§ »¢\~¢~>\>. 'c\BOSE L_>\->T\L \»\~=; _PASS€C> @\ST".
PL¢A\-»T\Y=F~` ama 3<~\¥; \¢\\ meam»°~\\~&"§ /QH~)"B
D\ b wc‘\' 355 mg Q~<\LSQ\>.

 

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upi \T E€LOB~>G¢:.; `\"“<D m @<LQSS\Y(£§ §->MS> /-w~/l>
PUSH&`;£> ‘<-X\vv\ QQT' C:`Z'FL \NTZF> P<>*<`.-\C..E C.~.)§‘:rsbw\‘,

 

 

 

3`4`7)» \‘\/\o'sr GFTH€ Docvc\&% F>n`n§ Ms€‘§ \<x~ra»~> wer-
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Ot~l<o~?_o\% \\Qc.wmq`><“\vv&@: u~)mb¢=w~)m m-) q-`;.Q~L‘&)
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@F T\+¢; §§ HOSP\F»CL D€P. D\i:> ;¢><\\) ;<\ss@s\~\€»\rv mr
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HA¢J\>CUF¢¢NG; A~B usa GEM w €:=s=§ <.m»\;~;
RJA<¢NT¢FF"S >"(`M\o~>\/\JL<`\)\JT/ A\'ZRE§\"»

?§\§' S€QJMVL§B€;Y:¢ \/\Q;M@ \-(esg;w»_¢cs § odum

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é‘*rd.;rn)zn\-Y§ \/(Déz=; €\/\\BEHCE m D€LET+E; Qt-> \T`S 00_3¥-3
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353). l-\o§:`p\w\c_ D€Tr. S~‘é"cm>~\r'~g vib€a; D-=~'\/\Q€
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?>Cal'> DCl: lac;\/\“S \5 ll\/WJZ_K\€D '\_<:>` €KLCA
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.SS Page 83 of 102
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i°v@v\m~>% TY\\»-k.-'<"' FL<A\\)»>T\ F ‘r` r-lw¢\/b TC,> $U'&~`-{?¢;\'¢ v\~\<z<..)
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Ca 386 2.19--CV OOO42- TOR ECF NO. l filed 02/01/19 Page|D. 94 Page 94 Of 102
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Case 2:19-cv-OOO42-TOR ECF No. 1 filed 02/01/19 Page|D.QB Page 95 of 102
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Ca aSe 2:19--CV 00042- TOR ECF NO. 1 filed 02/01/19 Page|D. 97 Page 97 Of 102
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